     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 1 of 31



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13                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION
15
     SENTIUS INTERNATIONAL, LLC,                                Case No. 5:13-cv-00825-PSG
16
                         Plaintiff,                             PLAINTIFF SENTIUS INTERNATIONAL,
17                                                              LLC’S OPPOSITION TO DEFENDANT’S
               vs.                                              MOTION FOR SUMMARY JUDGMENT
18
                                                                OF NO INFRINGEMENT (DIRECT,
19   MICROSOFT CORPORATION,                                     INDIRECT, OR WILLFUL)

20                       Defendant.                             Date: January 13, 2015
                                                                Time: 10:00 a.m.
21
                                                                Judge: Hon. Paul S. Grewal
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           PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                              SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                     CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 2 of 31




1
                                                        TABLE OF CONTENTS

2
      I.        INTRODUCTION ............................................................................................................... 1 
3
      II.       RELEVANT FACTUAL BACKGROUND ....................................................................... 2 
4
                A.        History of the Patents and Technology ................................................................... 2 
5

6               B.        Claim Construction .................................................................................................. 3 

7               C.        Asserted Claims and Accused Products and Functionalities ................................... 4 

8               D.        Undisputed Facts Regarding the “Link” Limitation ................................................ 5 
9               E.        Microsoft’s Pre-Suit Knowledge of Sentius’s Patents and Technology ................. 6 
10
      III.      LEGAL STANDARDS ....................................................................................................... 7 
11
                A.        Summary Judgment ................................................................................................. 7 
12
                B.        Infringement ............................................................................................................ 7 
13
                C.        Willful Infringement ................................................................................................ 8 
14

15              D.        Pre-Suit Damages for Indirect Infringement ........................................................... 9 

16    IV.       ARGUMENT ...................................................................................................................... 9 

17              A.        Microsoft Infringes Because Background Spell Check and Grammar
                          Check Both Use a Pointer in the Look-Up Table .................................................... 9 
18

19
                          1.         Microsoft’s fError Flag and the “Link” Limitation ..................................... 9 

20                        2.         Microsoft’s Non-Infringement Arguments Are Fallacious ....................... 12 

21              B.        Sentius Already Dropped “Actions” for 2010 and 2013 ....................................... 16 
22              C.        Sentius Can Prove Direct Infringement ................................................................. 17 
23
                D.        Sentius’s Willful Infringement Claim Should Be Tried to a Jury ......................... 19 
24
                          1.         Pre-Suit Knowledge of the Reissued Patents May Be Inferred ................. 19 
25
                          2.         A Denial of And Pendency of Summary Judgment Motions Do
26                                   Not Defeat Sentius’s Ability to Prove Objective Recklessness ................ 21 
27

28     ___________________________________________________________________________________________________________________
                                                                i
              PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 3 of 31



                         3.         Microsoft’s Pre-Suit Conduct Also Favors Preserving
1                                   Willfulness for Trial .................................................................................. 22 

2              E.        Sentius Can Prove Entitlement to Pre-Suit Damages for Indirect
                         Infringement .......................................................................................................... 23 
3
      V.       CONCLUSION ................................................................................................................. 24 
4

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 4 of 31




1                                                   TABLE OF AUTHORITIES

2
      Cases 
3
      Absolute Software, Inc. v. Stealth Signal, Inc.,
4
             659 F.3d 1121 (Fed. Cir. 2011) ........................................................................................... 7
5
      Bard Peripheral Vascular, Inc. v. W.L. Gore & Assocs.,
6           682 F.3d 1003 (Fed. Cir. 2012) ..................................................................................... 8, 21
7     Crown Packaging Tech., Inc. v. Ball Metal Beverage Container Corp.,
            635 F.3d 1373 (Fed. Cir. 2011) ........................................................................................... 7
8

9     Crystal Semiconductor Corp. v. TriTech Microelectronics Int'l, Inc.,
             246 F.3d 1336 (Fed. Cir. 2001) ........................................................................................... 8
10
      Gart v. Logitech, Inc.,
11            254 F.3d 1334 (Fed. Cir. 2001) ........................................................................................... 7
12
      Global-Tech Appliances, Inc. v. SEB S.A.,
13           131 S. Ct. 2060 (2011) ........................................................................................................ 9

14    Great No. Corp. v. Davis Core & Pad Co., Inc.,
             782 F.2d 159 (Fed. Cir. 1986) ........................................................................................... 20
15
      Gustafson, Inc. v. Intersystems Indus. Prods., Inc.,
16
             897 F.2d 508 (Fed. Cir. 1990) ............................................................................................. 8
17
      In re Seagate,
18            497 F.3d at 1374 ................................................................................................ 9, 21, 22, 23
19    McConnell v. Frank Howard Allen & Co.,
20
           574 F. Supp. 781 (N.D. Cal. 1983) .................................................................................... 18

21    Metro. Life Ins. Co. v. Bancorp Servs., L.L.C.,
             527 F.3d 1330 (Fed. Cir. 2008) ........................................................................................... 8
22
      Optical Disc Corp. v. Del Mar Avionics,
23           208 F.3d 1324 (Fed. Cir. 2000) ........................................................................................... 8
24
      Provenz v. Miller,
25          102 F.3d 1478 (Fed. Cir. 1996) .......................................................................................... 8

26    Read Corp. v. Portec, Inc.,
            970 F.2d 816 (Fed. Cir. 1992) ............................................................................................. 8
27

28     _________________________________________________________iii_________________________________________________________
            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 5 of 31



      See Lift-U v. Ricon Corp., No. 10-cv-1850-LHK,
1             2012 U.S. Dist. LEXIS 153795 (N.D. Cal. Oct. 25, 2012) ............................................... 22

2     Spine Solutions, Inc. v. Medtronic Sofamor Danek USA, Inc.,
             620 F.3d 1305 (Fed. Cir. 2010) ..................................................................................... 9, 21
3
      SRI Int'l v. Matsushita Elec. Corp.,
4
              775 F.2d 1107 (Fed. Cir. 1985) ........................................................................................... 7
5
      Stryker Corp. v. Intermedics Orthopedics, Inc.,
6            96 F.3d 1409 (Fed. Cir. 1996) ........................................................................................... 19
7     SynQor, Inc. v. Artesyn Techs.,
            709 F.3d 1365 (Fed. Cir. 2013) .................................................................................. passim
8

9     TV Interactive Data Corp. v. Microsoft Corp.,
             No. C-02-02385-JSW, 2005 WL 1910929 (N.D. Cal. Aug. 10, 2005) .................. 9, 19, 23
10
      Union States Gypsum Co. v. Nat'l Gypsum Co.,
11          74 F.3d 1209 (Fed. Cir. 1996) ............................................................................................. 7
12
      Statutes 
13
      35 U.S.C. § 252 ............................................................................................................................. 21
14
      35 U.S.C. § 271(b) and (c) ........................................................................................................ 9, 24
15
      35 U.S.C. § 284 ............................................................................................................................... 8
16

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             PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                       CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 6 of 31




1    I.           INTRODUCTION

2                 Microsoft argues that there is no infringement of either the ‘731 patent or the ‘633 patent
3    because it does not record a link to external reference materials in a look-up table as claimed in the
4    asserted claims. This is factually incorrect. The recording of the fError flag links a given
5    misspelled word or grammatically incorrect word or phrase to its corresponding spelling or
6    grammar correction in at least the following three ways, all of which are consistent with the
7    Court’s construction that the term “link” acts as a “pointer to data or information or the location of
8    data or information that is external to the source material”:
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18              Microsoft has previously conceded that a “link” can be either a pointer directly to external

19   reference material (a “direct” pointer), or a pointer to another pointer (an “indirect” pointer). Dkt.

20   74 at 7; see also Dkt. 55 at 15-17. But it now seeks to backtrack on that admission by arguing that

21   the link “by itself” must directly point to external reference information. This eleventh hour

22   change of position should be rejected.
                Microsoft also incredulously asserts that it has never itself used the accused background
23
     spell check and grammar check functionality, but the facts show otherwise. Microsoft seeks
24
     summary judgment on “Actions” for Office 2010 and 2013, which is moot as Sentius previously
25
     withdrew those products from the accused products list.                      Microsoft does not seek summary
26
     judgment on “Actions” in Office 2007, so that issue is ready for trial.
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                 Finally, Microsoft seeks to exclude a claim for willful infringement and pre-suit damages
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               PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                  SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                         CASE NO. 5:13-CV-00825-PSG
          3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 7 of 31




1    for indirect infringement on the ground that it had no pre-suit knowledge of the reissue patents.

2    But Microsoft clearly had pre-suit notice of the patents after multiple meetings with Sentius’s

3    founder, who demonstrated technology embodying the reissue patents to various teams at

4    Microsoft. Microsoft’s citation of the asserted patents using their predecessor’s patent number

5    dozens of times in its own USPTO filings for the last decade—including many years after the ‘731

6    patent reissued—also militates against its assertion of lack of pre-suit knowledge. Microsoft now

7    argues that it never had notice that the patents reissued. Microsoft’s knowledge is a fact issue that

8    precludes summary judgment.

9    II.           RELEVANT FACTUAL BACKGROUND

10               A.             History of the Patents and Technology

11               Sentius developed, marketed, and licensed software for over 13 years. See Dkt. 85-1 at 1.

12   Sentius owns the two patents-in-suit,1 which relate to database linking technology invented by

13   Sentius’s founder, Marc Bookman, and three other former Sentius employees. Id. at 2. The two

14   reissue patents at issue in this motion, U.S. Patent Nos. RE40,371 (“‘731 Patent”) and RE43,633

15   (“‘633 Patent”), arose out of work begun by the inventors in 1991. Id. The reissue patents claim

16   priority to an application filed in February of 1994, and the inventors have continued to work as

17   known experts in related fields. Id. The reissue patents disclose and claim features incorporated

18   into particular versions of Sentius’s RichLink and Mikan technologies, which practiced the

19   patented inventions beginning in 1993. After Mr. Bookman demonstrated the technology that

20   practiced the reissue patents to Microsoft in 1998, a Microsoft employee sent an internal email

21   stating that he “[r]an across a company with some interesting technology: Sentius with a product:

22   RichLink that provides automatic and manual indexing/annotation of documents.” Id. & Dkt. 85-

23   2. After Mr. Bookman demonstrated later technology to Microsoft in 2003, Microsoft employees

24   again praised the technology. Dkt. 85-1 at 2.

25               The specification of the ‘720 patent—which is identical to the specifications of the reissue

26   patents—describes a process involving a series of steps whereby (1) a document is loaded into

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     Sentius previously asserted two patents from a second patent family but voluntarily withdrew
28 assertion of these patents in order to streamline the litigation. See Dkt. 88 & 127.
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               PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                  SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                         CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 8 of 31




1    memory with a beginning position address, (2) parsed (i.e. cut into pieces) to identify terms or

2    phrases of interest, (3) the starting and ending addresses to the beginning position are determined

3    for the terms or phrases of interest and recorded in a look-up table, and (4) linking information is

4    also recorded for each identified term or phrase so as to allow the system to retrieve external

5    content corresponding to that “piece” of the document. Dkt. 85-3 at 5. When a user indicates an

6    interest in getting more information about a portion of the document, such as by right-clicking a

7    word or phrase at a particular cursor point, the system (a) selects the indicated portion, (b)

8    determines its address, (c) converts the address to an offset value relative to the beginning position

9    of the document, (d) compares the offset value to the starting and ending addresses stored in the

10   table to identify if it corresponds to a piece of the document for which a link has been recorded,

11   and then (e) uses the linking information to access and retrieve external reference information for

12   display in a pop-up window. Id.

13                 B.       Claim Construction

14          After briefing and a hearing held on January 8, 2014, the Court construed the following

15   terms relating to the reissue patents in its claim construction order:

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24   Dkt. 66. The Court subsequently held that the plain and ordinary meaning of the term “reference

25   information” will apply in dependent claims 70 and 154 of the ‘633 patent, which provide: “The

26   method of claim [64 or 146] wherein the link is reference information for retrieving the selected

27   one of the plurality of external reference materials.” Dkt. 119 at 17-18.

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           PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                              SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                     CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 9 of 31




1              With regard to the construction of “link,” Microsoft has repeatedly conceded that a “link”

2    can be either a direct pointer to external reference material or an indirect pointer to another pointer.

3    Dkt. 74 at 7 (“There is no dispute that a ‘link’ in the independent claims can be either a pointer

4    directly to external reference material (a “direct” pointer), or a pointer to another pointer (an

5    ‘indirect’ pointer).”); see also Dkt. 55 at 15-17. Microsoft has also conceded that a link may be

6    “static” or “dynamic,” giving the examples of “a memory address,” “a hyperlink,” and a “reference

7    numeral.” Dkt. 55 at 16 (“A “pointer” can be static (i.e., always pointing to the same thing) or

8    dynamic (i.e., pointing to different things at different times). None of these are excluded by

9    Microsoft’s proposed construction.”)

10                 C.       Asserted Claims and Accused Products and Functionalities

11          On September 8, 2014, Sentius served an infringement report by its technical expert, Dr.

12 Vijay Madisetti.       See Ex. A to the Declaration of Dr. Vijay Madisetti in Support of Sentius

13 International, LLC’s Opposition to Defendant’s Motion for Summary Judgment of No

14 Infringement, filed concurrently herewith (“Madisetti Decl.”). As the case now stands, the

15 remaining asserted claims (i.e., excluding previously asserted claims that have been dropped) are:

16           For the ’731 patent: claim 96
17           For the ’633 patent: claims 62, 64, 70, 146, 148, 149, 154, 164
18          The accused products for the ‘731 and ‘633 patents are the 2013, 2010, and 2007 versions
19   of Microsoft Word, Outlook, PowerPoint, OneNote, and Publisher for Windows, and the 2011
20   versions of Microsoft Word, Outlook, and PowerPoint for Macintosh. For the patents-in-suit, the
21   accused functionality is the spell check functionality of each of the accused products; the grammar
22   check functionality of Word and Outlook in both Windows and Macintosh versions, and the
23   “Actions”/”Smart Tags” functionality of Word, Outlook, and PowerPoint in Windows.                                The
24   “Actions”/”Smart Tags” functionality is only accused for the 2007 Office version. The “Actions”
25   functionality in the 2010 and 2013 Office versions is not accused.
26          Dr. Madisetti’s 731-page infringement report provided in painstaking detail Sentius’s
27   infringement theory for each asserted claim. The report cites at length to Microsoft’s documents,
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           PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                              SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                     CASE NO. 5:13-CV-00825-PSG
      3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 10 of 31




1    deposition testimony, and source code, along with external sources. The report contains a detailed

2    analysis of why a flag functions as a pointer in Microsoft’s accused products, and explains how,

3    for example, the accused Microsoft functionalities meet the claim element by using the Court’s

4    construction of “link”: because they “link to the at least one of the plurality of external reference

5    materials.” See, e.g., id. at ¶¶ 213-33.

6                    D.       Undisputed Facts Regarding the “Link” Limitation

7              There is no genuine dispute that the accused background spell check functionality2

8    identifies a misspelled word in an open Word document and records its starting and ending

9    character position values in the spelling PLC. Madisetti Decl., ¶¶32, 42. There is also no dispute

10 that the accused table

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     The “link” functionality for spell check and grammar check is substantially similar for purposes
27 of this motion. Madisetti Decl., ¶14. Accordingly, the same discussion pertaining to spell check
28 also applies to grammar check, and vice versa.
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              PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 11 of 31




1            The language of the character string of the clicked-on word is identified based

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7                                  These suggestions are subsequently contained in a pop-up menu for

8    display to a user. Id. ¶¶7, 9.

9                  E.       Microsoft’s Pre-Suit Knowledge of Sentius’s Patents and Technology

10           Sentius representatives, including founder Marc Bookman, met with Microsoft

11   representatives, including Don Bradford, General Manager of Macintosh Internet, on multiple

12   occasions between January and April 1998 to discuss a potential partnership. Dkt. 85-1 at 2; Dkt.

13   85-2; Exs. 1 to 5 the Declaration of Seth Ard in Support of Sentius International, LLC’s

14   Opposition to Defendant’s Motion for Summary Judgment of No Infringement, filed concurrently

15   herewith (“Ard Decl.”). During these meetings, Sentius demonstrated its patented technology to

16   Microsoft. Ard Decl., Exs. 1 to 4. There can be no dispute that the demonstrated technology

17   “practiced the reissue patents.” See id.; Ex. 6 (Bookman 5/29/14 Dep. Tr. at 189:22-200:15).

18   Further, the materials demonstrated to Microsoft were marked “patent pending” along with the

19   relevant patent “application number” corresponding to what would have been a published

20   application available at the USPTO. Id. at Ex. 6 (Bookman 5/29/14 Dep. Tr. at 196:12-197:22.);

21   see also id. at Ex. 7 (“About Us” page).

22           Between June and November 2003, Sentius representatives, including Mr. Bookman, again

23   met with Microsoft representatives, including Alay Desai, Director of Business Development,

24   Microsoft Emerging Business Team, to discuss a potential partnership. Dkt. 85-1 at 2; Ard Decl. at

25   Exs. 8 to 17. During these meetings, Sentius demonstrated its patented technology to Microsoft.

26   Id. at Exs. 9 to 11. The parties also exchanged various emails and Sentius sent Microsoft demo

27   materials and presentations further discussing its technology. Id. at Exs. 8 to 17. At least two

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 12 of 31




1    Microsoft employees downloaded and registered Sentius’s RichLink Author tool off the web after

2    a demonstration. Dkt. No. 133-1.

3            Before this lawsuit was instituted, Microsoft cited the ‘720 patent as prior art to its patents

4    in Information Disclosure Statements (“IDS”) filed with the Patent Office close to thirty-five

5    times. Ard Decl. at Exs. 18 to 48, 52 to 57. Microsoft’s earliest patent application filings that cite

6    the ‘720 patent date back to December 1999, with IDSs disclosing the patent as prior art filed in

7    May and June 2004. Id. at Exs. 18 to 26. After June 9, 2009, when the ‘731 patent, the first of the

8    reissue patents, issued from the predecessor ‘720 patent, Microsoft continued to cite the ‘720

9    patent at least five times. Id. at Exs. 55 to 58.

10   III.       LEGAL STANDARDS

11                  A.       Summary Judgment

12           Summary judgment is appropriate when there is no genuine issue as to any material fact

13   and the moving party is entitled to judgment as a matter of law. Union States Gypsum Co. v. Nat’l

14   Gypsum Co., 74 F.3d 1209, 1212 (Fed. Cir. 1996). The burden of demonstrating the absence of any

15   genuine issue of material fact rests with the moving party. SRI Int’l v. Matsushita Elec. Corp., 775

16   F.2d 1107, 1116 (Fed. Cir. 1985).

17                  B.       Infringement

18           Patent infringement is a question of fact. Absolute Software, Inc. v. Stealth Signal, Inc.,

19   659 F.3d 1121, 1130-31 (Fed. Cir. 2011). To determine infringement, the fact-finder compares the

20   construed claims to the allegedly infringing product and determines whether every limitation is

21   present. Gart v. Logitech, Inc., 254 F.3d 1334, 1339 (Fed. Cir. 2001). Summary judgment is proper

22   only if no reasonable jury could find infringement. Id. at 1339. All of Sentius’s infringement

23   evidence must be credited and all justifiable inferences from that evidence must be drawn in

24   Sentius’s favor. Id. A conflict between the parties’ experts on a material issue defeats summary

25   judgment. Crown Packaging Tech., Inc. v. Ball Metal Beverage Container Corp., 635 F.3d 1373,

26   1384 (Fed. Cir. 2011); see also Metro. Life Ins. Co. v. Bancorp Servs., L.L.C., 527 F.3d 1330, 1339

27   (Fed. Cir. 2008) (“The conflict in [expert] declarations created a genuine issue of material fact that

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 13 of 31




1    made summary judgment inappropriate."); Optical Disc Corp. v. Del Mar Avionics, 208 F.3d

2    1324, 1338-39 (Fed. Cir. 2000) (vacating summary judgment where the parties’ experts offered

3    conflicting testimony); Provenz v. Miller, 102 F.3d 1478, 1490 (Fed. Cir. 1996) (“As a general

4    rule, summary judgment is inappropriate where an expert’s testimony supports the non-moving

5    party’s case.”).
                   C.       Willful Infringement
6

7            Under 35 U.S.C. § 284, the Court has discretion to award enhanced damages when “the
8    infringer acted in wanton disregard of the patentee’s patent rights, that is, where infringement is
9    willful.” Read Corp. v. Portec, Inc., 970 F.2d 816, 826 (Fed. Cir. 1992). Willfulness is a question
10   of fact determined from the totality of the circumstances. Gustafson, Inc. v. Intersystems Indus.
11   Prods., Inc., 897 F.2d 508, 510 (Fed. Cir. 1990).
12           Infringement is willful when the infringer was aware of the asserted patent, but nonetheless
13   “acted despite an objectively high likelihood that its actions constituted infringement of a valid
14   patent.” i4i Ltd. P'ship v. Microsoft Corp., 598 F.3d 831, 860 (Fed. Cir. 2010) aff'd, 131 S. Ct.
15   2238 (2011) (quoting In re Seagate Tech., LLC, 497 F.3d 1360, 1371 (Fed. Cir. 2007)). After
16   satisfying this objective prong, “the patentee must also show that the infringer knew or should
17   have known of this objectively high risk.” Id. Pre-suit notice of a related patent to the patents-in-
18   suit may be sufficient to establish the knowledge prong of a willful infringement claim. Crystal
19   Semiconductor Corp. v. TriTech Microelectronics Int'l, Inc., 246 F.3d 1336, 1352-57, 1361 (Fed.
20   Cir. 2001) (upholding enhanced damages for willful infringement when damages were calculated
21   from the date the infringer had pre-suit notice of a related patent-in-suit even though notice of the
22   other patents-in-suit occurred five years later when the suit was filed).
23           To establish objective recklessness, one prong of the willful infringement inquiry, a

24   plaintiff must prove that the “infringer acted despite an objectively high likelihood that its actions

25   constituted infringement of a valid patent.” Bard Peripheral Vascular, Inc. v. W.L. Gore &

26   Assocs., 682 F.3d 1003, 1005 (Fed. Cir. 2012). An accused infringer is not objectively reckless

27   where it “relies on a reasonable defense to a charge of infringement.” Spine Solutions, Inc. v.

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 14 of 31




1    Medtronic Sofamor Danek USA, Inc., 620 F.3d 1305, 1319 (Fed. Cir. 2010); see In re Seagate, 497

2    F.3d at 1374 (“A substantial question about invalidity or infringement is likely sufficient [to avoid]

3    a charge of willfulness based on post filing conduct.”). However, that question is normally

4    reserved for the jury. i4i, 598 F.3d at 860 (jury properly heard and rejected Microsoft’s arguments

5    that it reasonably believed there were substantial defenses to a claim of infringement).

6                  D.       Pre-Suit Damages for Indirect Infringement

7            Liability for induced or contributory infringement under 35 U.S.C. § 271(b) and § 271(c)

8    requires “knowledge of the existence of the patent that is infringed.” Global-Tech Appliances, Inc.

9    v. SEB S.A., 131 S. Ct. 2060, 2068 (2011). Direct evidence of that knowledge, however, is not

10   required; circumstantial evidence giving rise to an inference of pre-suit knowledge is sufficient.

11   See SynQor, Inc. v. Artesyn Techs., 709 F.3d 1365, 1380 (Fed. Cir. 2013) (affirming denial of

12   JMOL of noninfringement where circumstantial evidence established defendant’s pre-suit

13   knowledge of the patents because defendants were shown to have had in their possession

14   datasheets and products marked with plaintiff-patentee’s earlier patents, including one to which the

15   patents-in-suit claimed priority). Indeed, if defendant had pre-suit knowledge of the patent—or a

16   related patent—summary judgment to preclude pre-suit damages for indirect infringement will be

17   denied. TV Interactive, 2005 WL 1910929, at *2.

18   IV.       ARGUMENT

19
                   A.       Microsoft Infringes Because Background Spell Check and Grammar
                            Check Both Use a Pointer in the Look-Up Table
20
                            1.       Microsoft’s fError Flag and the “Link” Limitation
21
             Microsoft disputes whether a misspelled word (or a grammatically incorrect word or
22
     phrase) is linked to its suggested corrections in its accused spell (and grammar) check system. It
23
     does not take much more than seeing that the same suggested corrections are repeatedly shown for
24
     any given misspelled word or grammatically incorrect word or phrase to see that the misspelled
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     word and its suggested corrections are “linked.” That is because the recording of an fError flag in
26
     a given location in the spell check look-up table points the system to (a) an appropriate language
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     spell check library for the misspelled word and (b) the character string of the misspelled word
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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 15 of 31




1    needed to be passed to that library so that (c) the corresponding corrections for that character string

2    may be selected, retrieved, and displayed. Madisetti Decl., ¶¶27, 29-41. The recording of an

3    fError flag in the grammar check look-up table links to suggested grammatical corrections in the

4    same manner. Id. ¶¶28, 42-54.

5            The claim language requires a “link to the at least one of the plurality of external reference

6    materials.” The accused spell check functionality indisputably meets this requirement.

7                                                                                                         s “a pointer to

8    data or information or the location of data or information that is external to the source material,”

9    because it links a misspelled word to its suggested spelling corrections from an appropriate

10   language spell check library. Microsoft does not dispute that of the specific language spell or

11   grammar check libraries are (1) “external” to the source material, and (2) contain the specific

12   corrections that will be selected and retrieved for display. Madisetti Decl., ¶ 25.

13           Moreover, there is no factual dispute that the fError flag is used in selecting and retrieving

14   a spelling correction for a given misspelled word from its corresponding language spell check

15   dictionary (i.e., at least one of the plurality of external reference materials). Id. ¶¶12, 15-18, 26,

16   45. The accused functionality uses the fError flag to identify

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20           Specifically, the Court’s construction is met in the following three ways with respect to the

21 fError flag for the accused spell check and grammar check functionalities:

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 16 of 31




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4              In each example, the fError flag is used as “a link to the at least one of the plurality of
5    external reference materials,” as the claim requires. Specifically, the spell-check and grammar-
6    check features links a misspelled word or grammatically incorrect word or phrase to the
7    corresponding corrections for that word or phrase from an external library. Madisetti Decl., ¶¶25,
8    63. As set forth above, the fError flag
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16             Microsoft’s technical 30(b)(6) witnesses also confirm that the accused spell check and

17   grammar check functionalities use a “look-up table” with a “link” between a word or phrase in the

18   document and some external content.3

19

20

21

22

23
     3
         See Ard Decl., Ex. 61 (Little 5/15/14 Dep. Tr. at 57:3-60:10 (
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26                                                                                            ; see also id. at Ex. 62
     (Crawley 5/12/14 Dep. Tr. at 33:23-34:7
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              PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 17 of 31




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3                           2.       Microsoft’s Non-Infringement Arguments Are Fallacious

4            Microsoft’s motion, which does not cite any facts about how its code operates or rest on a

5    declaration setting out the lack of any factual dispute, sets forth three principal arguments for non-

6    infringement based on its assertion that there is no “link” in a “look-up table.” None of these

7    arguments has merit.

8            First, Microsoft argues that a flag (Microsoft’s “fError” flag) cannot be a “pointer” because

9    “the error flag, by itself, does not identify what the potential corrections are (if there even are any),

10   or where to find them.” Dkt. 129 at 15. Microsoft’s use of the phrase “by itself” must be

11   emphasized, because with it Microsoft attempts to limit the “link” limitation to a “direct pointer.”

12   But Microsoft has repeatedly conceded that “a ‘link’ in the independent claims can be either a

13   pointer directly to external reference material (a “direct” pointer), or a pointer to another pointer

14   (an “indirect” pointer).”       See, e.g., Dkt. 74 at 7; Dkt. 69 at 65:8-9 (“The dispute is not

15   direct/indirect. That has never been the dispute.”). The Court has construed “link” to be a

16   “pointer”—without any limitation as to whether it must directly refer to external material or

17   whether it may refer to that material through several intermediate steps. Microsoft’s new argument

18   that the link “by itself” must point to the external reference information is inconsistent with its

19   previous positions and the Court’s construction, and must be rejected.                            In the accused

20   functionalities, the fError flag

21                                         to the external reference material in at least three ways, discussed

22   in the previous subsection.

23           Microsoft claims that the flag cannot point to the corrections for misspelled words because

24   it is merely a status indicator (of whether an error in spelling or grammar is present) and does not

25   “literally . . . point to anything.”         Dkt. 129 at 16.        But this argument depends entirely on

26   Microsoft’s added limitation that the “link” be a “direct pointer,” and the Court’s construction does

27   not require that a pointer must “literally point” to external reference material. Indeed, Microsoft’s

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 18 of 31




1    position at the Markman hearing had been that a flag can be a pointer as long as eventually it gets

2    you to the external reference material. See Dkt. 69 at 65:23-66:2 (“Mr. Lamberson: I would agree

3    with Your Honor in the sense that if you’re saying there has to be something here that is directly

4    connected to something there, or indirectly connected, in the sense that one has to get you to the

5    other, I would agree.”)

6            Microsoft also argues that the error flag cannot be a “pointer” because it does not “point to”

7    or identify potential corrections until after the user right-clicks on the marked word or phrase.

8    This “temporal” argument misses the mark because the asserted claims, which recite each step in

9    the order to be performed, specifically contemplate that the “linking” is executed after a user

10   selects a word or phrase for which additional information from an external source is desired.

11   Indeed, the selecting, retrieving (where applicable), and displaying steps occur after the recording

12   step (i.e., when the flag is entered along with the starting and ending position of the misspelled or

13   grammatically incorrect word or phrase) in each of the claims. See Madisetti Decl., ¶64. Indeed,

14   after the flag is recorded in the accused systems, the linked to spelling or grammar corrections are

15   determined by virtue of the one-to-one correlation between the pointed to character string (and

16   language) and the corrections that will be selected for retrieval and displayed to the user. Id.

17           While it is true that the selecting, retrieval, and displaying steps occur after the flag is

18   recorded in the accused systems, the claim language requires nothing more for infringement. In

19   the accused systems, the link is executed upon the user right clicking on a misspelled word or

20   grammatically incorrect word or phrase in the manner set forth above. See id. ¶¶27-28, 64.

21   Microsoft’s “temporal” argument thus obscures the issue in dispute because the “link” limitation is

22   satisfied so long as the fError flag eventually points to the external reference material.

23           Second, Microsoft contends that no genuine dispute exists because the named inventors on

24 the Sentius reissue patents, Brian Yamanaka and Marc Bookman, conceded that a flag cannot act

25 as a pointer is meritless. Microsoft misstates their testimony. As for Mr. Yamanaka, he clearly

26 testified that there were programming contexts in which a flag could be used as a pointer, and that

27 he has not reviewed Microsoft’s code and does not know how Microsoft uses the fError flag:

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 19 of 31



                      Q. Now, earlier I believe that you testified that there are some
1              circumstances in which a flag could be a pointer, if the programming
2
               allowed for that?
                      A. If you're referring to earlier today, yes, I did.
3                     Q. So can you, for example, conceive of the flag being interpreted by the
               programming to refer to a particular place to look up a dictionary?
4                     MR. LAMBERSON: Objection; incomplete hypothetical, vague.
                      THE WITNESS: As I had said earlier, so it's an easy trick in C that we
5
               use often because back then memory and CPU constraints, where a variable
6              may have two different purposes, oftentimes they would test saying like if null,
               meaning there is nothing existent. And if it was not null, then I would
7              immediately interpret it as actually pointing to something. Hypothetically,
8
               that could be the case.
     Ard Decl., Ex. 63 (Yamanaka 6/20/14 Dep. Tr. at 62:21-63:15 (emphasis added)); id. at 60:10-21
9
     (“Do you have any specific information regarding the -- what is happening behind the scenes, for
10
     example, in Microsoft’s spell check as you go with the red squiggles? A. I have no understanding
11
     of that. No, beyond being a user, I'm not sure how it’s implemented. Q. So there’s no opinions that
12
     you’re expressing here regarding whether or not the specifics of that system might be infringing
13
     this patent? A. I had not even considered that.”).
14
               As for Mr. Bookman, just after the excerpt Microsoft cites, he clarifies that a flag can be a
15
     pointer and Sentius easily could have used a flag as a pointer in the preferred embodiment:
16
                 However, I am certain that if we decided to make this a zero or one, that we
17
                 would have been able to implement it this way because, again, we were cognizant
18               that this was the exemplary embodiment and there would be many ways for this
                 table to work and we didn't specify exactly how the table should work. So I do
19               believe -- I do believe that if we went with a zero or one for the instructions here
                 in the link column that, yes, the software would have worked and we would have
20
                 made it work.
21
     Id. at Ex. 6 (Bookman 5/29/14 Dep. Tr. at 174:13-22).
22
               Microsoft also repeatedly asserts that a flag and a pointer are not “interchangeable” terms.
23
     But that is not the dispute here.4 What is in dispute is whether the fError flag is also used by the
24
     4
25    Nonetheless, one of ordinary skill in the art would know that flags and pointers could be used
   interchangeably at least as early as the 1980s. See, e.g., Ard Decl., Ex. 64, U.S. Patent No.
26 4,872,163 (issued 10/3/1988) at 6:62-65 (“The transmission of the 8-bit code effectively raises a
   flag or pointer (the “1” in a certain position) …”); Ex. 65, U.S. Patent No. 4,734,931 (issued
27 3/29/1988) at 17:27-29 (“These mailbox messages can be simply the setting of a flag or pointer for

28 many communication applications.”).
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              PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 20 of 31




1    accused programs as a pointer to external reference information, irrespective of whether it is also

2    used a status indicator. The fError flag in the respective accused functionalities acts as a pointer to

3    external reference information on three levels, as demonstrated above.

4            Next, Microsoft argues that Sentius’s infringement theory improperly conflates the link and

5    starting position address limitations and posits a link that does not point to anything external to the

6    source material. As shown above, this is incorrect because it is the recording of the fError flag at a

7    particular location in the table that acts as the link. At best, Microsoft’s arguments are tantamount

8    to stating that the linking information cannot be used in conjunction with the starting position

9    address, which is simply false. The preferred embodiment demonstrates that the purpose of the

10   linking information is to link the word or phrase for a given starting and ending position to the

11   specific external information for retrieval via the linking information. Madisetti Decl., ¶¶6-7, 11.

12   Therefore, Sentius does not conflate the “link” limitation and the “starting position address”

13   limitations.

14           Nor is there any merit to Microsoft’s argument that Sentius’s infringement theory runs

15   afoul of the “external” limitation because the starting position address in the PLC data structure

16   only indicates a position internal to the document. This argument ignores Sentius’s position that

17   the link indirectly points to suggested corrections for misspelled words from the appropriate

18   library, which are clearly external to the source material (i.e., the document text). See Madisetti

19   Decl., ¶¶17, 24, 57, 58. At best, Microsoft is arguing that indirect links to the external source

20   material are excluded by the Court’s construction, but that, again, is contrary to Microsoft’s

21   repeated concessions as well as the Court’s construction.

22           Finally, Microsoft calls Sentius’s infringement position “flawed” and “nonsensical”

23   because it requires the dictionaries to be called before the error flag is set in order to determine

24   what value to give the flag. Dkt. 129 at 17-18. This argument again muddles the issue. The issue

25   is whether the fError flag recorded in the look-up table is used to link the misspelled word or

26   grammatically incorrect phrase to the specific dictionary and the proper content to be retrieved

27   therefrom for display upon the right-click. The issue is not—and the claim does not speak to—

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 21 of 31




1    whether libraries are also consulted in creating the look-up table. As Dr. Madisetti testified,

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6            Microsoft sets up a straw man by mischaracterizing Dr. Madisetti’s testimony, which was

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10                                                                                        See id. ¶¶5, 34, 36-38, 41,

11   49-51, 54, 59-61, 63. The source code cited in the supporting Madisetti Declaration documents

12   this process well. See id.

13           Microsoft also argues that Sentius’s infringement theory contradicts the alleged benefit of

14   using the claimed “look-up table,” which is to avoid the need to search through potentially

15   multiple dictionaries each time a user wishes to retrieve a particular piece of external content

16   associated with a word in the document. Dkt. 129 at 18. First, there is no “benefit” limitation in

17   the claims. Second, Microsoft is not required to search through multiple dictionaries to infringe.

18   To the contrary, Dr. Madisetti has described how the fError flag is used to indirectly point to the

19   particular dictionary to be used to retrieve the external content for display. Madisetti Decl., ¶¶29-

20   41, 44-54. Third, to the extent Microsoft is asserting that selecting the material for display after

21   recording the link is somehow excluded by the claim, this would be contradicted by the claim

22   language itself. Each of the asserted claims specifically include the step of “selecting one of the

23   plurality of external reference materials corresponding to the identified one of the plurality of

24   discrete pieces” after the link recording step. Thus, the link may be a dynamic link whose

25   particulars are resolved after it is recorded.

26                 B.       Sentius Already Dropped “Actions” for 2010 and 2013

27             Microsoft requests summary judgment of non-infringement for the “actions”

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 22 of 31




1    functionality of the 2010 and 2013 versions of the accused products. This request is moot because

2    Sentius informed Microsoft that it no longer accused the “Actions” functionality of the 2010 and

3    2013 versions of the accused products and confirmed this at Dr. Madisetti’s deposition. See Ard.

4    Decl., Ex. 66, at ¶11 (Supplemental Expert Report of Dr. Madisetti,).

5               Microsoft’s does not seek summary judgment on Sentius’ theory of infringement by the

6    2007 “Actions” functionality. As such, “Actions” in the 2007 version of the accused products is

7    ready for trial.
                    C.       Sentius Can Prove Direct Infringement
8

9            Microsoft argues that “Sentius has no evidence regarding Microsoft’s internal testing or
10   usage of its accused software in the United States” to prove direct infringement by Microsoft.
11   Mot. at 15. Microsoft is essentially arguing that there is no evidence—even circumstantial—that
12   anyone at Microsoft ever used the accused functionalities in its flagship Office product that it
13   developed and that is a cornerstone of its business.
14           To prove its point, Microsoft disputes the significance of two pieces of evidence that
15   directly show its internal testing and usage of its accused software in the United States. First, there
16   is a Microsoft LinkedIn job posting that seeks an employee to test the features of Microsoft office.
17   Dkt. 133-4. Microsoft attempts to argue that the evidence fails to show that a Microsoft office
18   employee actually used Microsoft’s own programs, which defies common sense. A reasonable
19   jury, however, may infer from the LinkedIn job posting seeking an employee to “test, support and
20   drive design changes to” Microsoft Office that Microsoft employees actually do test Microsoft
21   Office. Dr. Madisetti also testified that his understanding, based on reviewing the job posting, is
22   that the chosen applicant would be joining an “existing team” of test engineers for Microsoft
23   Office products. Ard Decl., Ex. 67 (Madisetti 11/24/14 Dep. Tr. at 44:18-45:7). Second, Microsoft
24   refers to a “Proofing Tools Integration” document seemingly circulated to Microsoft employees
25   that labels the spell checker and grammar checker as “proofing tools” and explains that “we are
26   only responsible for checking the functionality within the Word Application.” Dkt. 133-5. Rather
27   than argue that Microsoft’s discussion of how it checks the functionality of its spell checkers and
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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 23 of 31




1    grammar checkers in Microsoft Word cannot itself constitute direct infringement, Microsoft takes

2    issue that this document was not introduced at deposition. Microsoft’s arguments about whether

3    an employee was actually hired, or whether anyone ever used the “Proofing Tools Integration”

4    document clearly seek to invade the role of the jury by testing the strength of inferences from the

5    evidence at hand. See McConnell v. Frank Howard Allen & Co., 574 F. Supp. 781, 788 (N.D. Cal.

6    1983) (noting that summary judgment is inappropriate where conflicting inferences can be drawn

7    from the facts).

8              Microsoft neglects to address additional evidence that may prove Microsoft’s internal

9    testing and use of the relevant software in the United States. For example, Alex Mogilevsky, a

10   software developer at Microsoft, testified that

11

12                                                              Ard Decl., Ex. 68 (Mogilevsky 5/8/14 Dep. Tr. at

13   30:5-15 (“

14               ”).   Another Microsoft employee refers to the accused background spellcheck
                                                                                5
15   functionality                                                                  A number of internal Microsoft

16   documents also discuss employees testing and using the software. See, e.g., id. at Ex. 70

17   (MS_SENTIUS086460-61 (

18

19

20

21                                                                                                 ) (emphasis added));

22   Ex. 71 (MS_SENTIUS036640 (

23                                                   ); Ex. 72 (MS_SENTIUS035208 (internal Microsoft email

24   discussing the contextual spell checker’s interaction with the documents prepared in Microsoft

25   Word)); Ex. 73 (MS011104-11 at MS011110 (internal email discussing a smart tag plug-in “that’s

26
     5
    See Ard Decl., Ex. 69 (MS_SENTIUS098309-10); Ex. 68 (Mogilevsky 5/8/14 Dep. Tr. at 131:2-
27 132:8 (confirming                                                       ); see also Ex. 62
28 (Crawley 5/12/14 Dep. Tr. at 122:21-124:8 (confirming the same)).
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              PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 24 of 31




1    tailored to MS office folks”)); Ex. 74 (MS096007-08 at MS096007 (“

2                                                                               ”)).

3              Thus, to the extent Microsoft disputes that a job posting and an internal document about

4    testing Microsoft Office features do not actually show Microsoft employees using the features,

5    there are a number of other documents to assist the jury in making the obvious inference.

6                    D.       Sentius’s Willful Infringement Claim Should Be Tried to a Jury

7                Microsoft makes two arguments in an attempt to keep Sentius’s willful infringement

8    claim from proceeding to trial. First, Microsoft asserts that because Sentius’s contacts with

9    Microsoft pre-date the issuance of the reissue patents in 2009, Sentius cannot demonstrate the

10   requisite knowledge of the patents to be able to prove pre-suit willfulness as a matter of law. Dkt.

11   129 at 22. Second, Microsoft alleges that its motions for summary judgment of invalidity (Dkt. 76)

12   and non-infringement (Dkt. 129) evidence the presence of “good-faith defenses” sufficient to

13   defeat Sentius’s claim of willfulness. Dkt. 129 at 23. Microsoft is twice mistaken.

14                            1.       Pre-Suit Knowledge of the Reissued Patents May Be Inferred

15             Microsoft’s argument based on lack of pre-suit knowledge turns the summary judgment

16   standard on its head. It is well-settled that a plaintiff need not prove that the defendant had actual

17   pre-suit notice of the patents-in-suit; “circumstantial evidence” is enough. See, e.g., i4i Ltd., 598

18   F.3d at 860; TV Interactive Data Corp. v. Microsoft Corp., No. C-02-02385-JSW, 2005 WL

19   1910929, at *2 (N.D. Cal. Aug. 10, 2005) (“The reference to TVI’s ‘156 patent on a form attached

20   to an Office Action during the prosecution of one of Microsoft’s patents . . . indicates that there is

21   a genuine issue of material fact as to whether Microsoft had actual notice of the '156 patent at that

22   time” for willfulness claim). Stryker Corp. v. Intermedics Orthopedics, Inc., 96 F.3d 1409, 1415

23   (Fed. Cir. 1996)6 (concluding that the infringer had actual notice of the patent when patent counsel

24   for the defendant saw a drawing and reference to the patent in the Official Gazette of the Patent

25   and Trademark Office); Great No. Corp. v. Davis Core & Pad Co., Inc., 782 F.2d 159, 166-67

26   (Fed. Cir. 1986) (concluding that the infringer had notice of the patent when a third party

27   6
     While Stryker’s “duty of care” standard has been called into question, its analysis of what
28 constitutes pre-suit knowledge of a patent has not.
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                                 SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                        CASE NO. 5:13-CV-00825-PSG
         3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 25 of 31




1    mentioned to the president of the company that there was a similar product on the market that had

2    been patented).

3            Here, before this lawsuit was instituted, five times the patent examiners prosecuting

4    Microsoft’s patents cited the ‘720 patent, the predecessor patent from which the patents-in-suit

5    reissued, to Microsoft. See Ard Decl., Exs. 51 to 53, 59, 60. At minimum, this places into dispute

6    Microsoft’s actual knowledge of the patents-in-suit by June 2010.                      Separately and notably,

7    Microsoft itself cited the ‘720 patent as prior art to its patents to the USPTO not once, but almost

8    forty times before this lawsuit was filed. Id. at Exs. 18 to 48, 52 to 58. Microsoft’s earliest IDS

9    filings that listed the ‘720 patent date back to May and June 2004. Id. at Exs. 18 to 26.                      Thus,

10   Microsoft’s pre-suit notice of the ‘720 patent through its dealings with the USPTO is a disputed

11   issue to be decided by a jury.

12           Moreover, to the extent Microsoft is arguing that notice of the ‘720 patent is not the same

13   as notice of the reissue patents, Microsoft’s knowledge of the reissue patents may be imputed from

14   its pre-suit knowledge of the predecessor ‘720 patent. Recently, the Federal Circuit held that pre-

15   suit knowledge may be inferred if it is shown that the defendant had actual knowledge of an

16   earlier, predecessor patent to the patents-in-suit. SynQor, 709 F.3d at 1380 (affirming denial of

17   JMOL of noninfringement where circumstantial evidence allowed the inference of defendant’s pre-

18   suit knowledge of the patents-in-suit because defendants were shown to possess datasheets and

19   products marked with plaintiff-patentee’s earlier patents, including one to which the patents-in-suit

20   claimed priority). Sentius is able to establish more than what the SynQor Court found to be

21   sufficient. First, Microsoft did not merely possess products marked with the ‘720 patent, but

22   affirmatively cited the ‘720 patent to the USPTO almost forty times over the course of a decade

23   before this suit was even filed. Ard Decl., Exs. 18 to 48, 52 to 58. Second, unlike in SynQor

24   where the patents-in-suit merely claimed priority to a patent that the defendant had notice of, here

25   the patents-in-suit reissued from the original ‘720 patent as its replacement and continuation. See

26   35 U.S.C. § 252 (“The surrender of the original patent shall take effect upon the issue of the

27   reissued patent, and every reissued patent shall have the same effect and operation in law, on the

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            PLAINTIFF SENTIUS INTERNATIONAL, LLC’S OPPOSITION TO DEFENDANT’S MOTION FOR
                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 26 of 31




1    trial of actions for causes thereafter arising, as if the same had been originally granted in such

2    amended form . . . [and] shall constitute a continuation thereof and have effect continuously from

3    the date of the original patent.”) (emphasis added). Thus, Microsoft’s pre-suit knowledge of the

4    ’720 patent is imputed to the reissue patents, which are effectively continuations of the ‘720 patent

5    and are deemed to “have effect continuously from the date of the original [‘720] patent.” Id.

6            Finally, Microsoft cited the ‘720 patent at least four times after the ‘731 patent, the first of

7    the reissue patents, issued on June 9, 2009. Ard Decl., Exs. 55 to 58. At minimum, imputation of

8    knowledge of the reissue patents should start from that date, because as a matter of statute the ‘720

9    patent is deemed to have been “surrendered” as of that date and the ‘731 patent is deemed to “have

10   the same effect and operation in law” as the ‘720 patent from the date of the ‘720 patent, which

11   issued October 13, 1998. Indeed, after the ‘731 patent reissued, any search for the ‘720 patent

12   would have revealed or led the inquirer to the ‘731 or the ‘633 patent. From these and the

13   foregoing facts, a jury may plausibly infer that Microsoft had notice of the reissue patents.

14                          2.       A Denial of And Pendency of Summary Judgment Motions Do Not
                                     Defeat Sentius’s Ability to Prove Objective Recklessness
15
             Generally, an accused infringer is not objectively reckless where it “relies on a reasonable
16
     defense to a charge of infringement.” Spine Solutions, 620 F.3d 1319; see In re Seagate, 497 F.3d
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     at 1374 (“A substantial question about invalidity or infringement is likely sufficient [to avoid] a
18
     charge of willfulness based on post filing conduct.”). The Federal Circuit has explained that the
19
     threshold determination of objective recklessness distills to “whether a defense or noninfringement
20
     theory [is] ‘reasonable.” Bard, 682 F.3d at 1006. Here, Microsoft’s motion does not detail why
21
     and how its non-infringement and invalidity defenses as presented in its summary judgment
22
     motions are objectively reasonable. Instead, Microsoft makes the conclusory claim that its very
23
     filing of these motions, which purportedly evidences its “good faith defenses” to the litigation, is
24
     sufficient to defeat a finding of objective recklessness as a matter of law. Not so. Microsoft’s
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     motion for summary judgment of invalidity based on Sentius’s correction of “clerical errors” (as
26
     they were identified by another court) in two non-broadening reissues was swiftly denied by this
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     Court. Dkt. 119. Microsoft’s instant motion for summary judgment of non-infringement—theories
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                                                               21
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                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 27 of 31




1    which are just as likely to be reasonable as they are meritless—is yet to be decided. A showing

2    such as Microsoft’s that “does not address the objective reasonableness of the [d]efendant’s non-

3    infringement and invalidity defenses” is insufficient to warrant a grant of summary judgment of no

4    willfulness. See Lift-U v. Ricon Corp., No. 10-cv-1850-LHK, 2012 U.S. Dist. LEXIS 153795, at

5    *35-36 (N.D. Cal. Oct. 25, 2012). Further, any question about whether Microsoft’s defenses are

6    adequate for it to form a good-faith belief of non-infringement is properly reserved for the jury.

7    i4i, 598 F.3d at 860 (jury properly heard Microsoft’s arguments that its defenses to validity and

8    infringement gave Microsoft a reasonable belief of non-infringement, and jury had sufficient

9    evidence to reject that contention).

10                          3.       Microsoft’s Pre-Suit Conduct Also Favors Preserving Willfulness
                                     for Trial
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                The Federal Circuit has recognized that “in ordinary circumstances, willfulness will
12
     depend on an infringer’s prelitigation conduct.” Seagate, 497 F.3d at 1374. Microsoft contests this
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     point in the course of denying that it had pre-suit knowledge of the patents-in-suit from Sentius’s
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     1998 and 2003 meetings. However, Sentius possesses sufficient evidence to show that a genuine
15
     issue of material fact exists regarding whether Microsoft acted in “willful disregard” of Sentius’s
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     patent rights. In addition to the arguments provided in Section II.D.1, supra, additional deposition
17
     testimony and documents also establish Microsoft’s pre-suit knowledge of the patents-in-suit, as
18
     follows:
19
               Mr. Bookman has testified at length about the multiple meetings in 1998 and in 2003
20              during which he or his team demonstrated Sentius technology “that practiced the
                reissue patents” to various teams at Microsoft. Ard Decl., Ex. 6 (Bookman 5/29/14
21              Dep. Tr. at 189:22-200:15); Ex. 75 (Bookman 5/30/14 Dep. Tr. at 214:13-261:9,
22              267:22-274:13).
               Directly contradicting Microsoft’s allegation that “he never told Microsoft anything
23
                confidential about the operation of his systems,” Dkt. No. 129 at 22, Mr. Bookman
24              testified that all materials demonstrated and sent to Microsoft were marked “patent
                pending” along with the relevant patent “application number” corresponding to what
25              would have been a published application available at the U.S. Patent & Trademark
                Office. Id., Ex. 6 (Bookman 5/29/14 Dep. Tr. at 196:12-197:22).
26
               Both parties have produced dozens of emails and other documents in the course of
27              this litigation evidencing interactions and exchanges in 1998 and 2003 between
28              Microsoft and Sentius involving Sentius’s patents and patented technology. Dkt. 85-
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                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 28 of 31



                  2; see Ard Decl., Exs. 1 to 5 (1998 communications); Ex. 7 (“About Us” page); Exs.
1                 8 to 17 (2003 communications).
2               Thus, at the very least, a factual dispute exists over whether Microsoft knew about the
3    asserted patents and patented technology before this lawsuit and acted in willful disregard of such
4    knowledge. The Court should deny Microsoft’s motion for summary judgment of no willful
5    infringement.
6               E.             Sentius Can Prove Entitlement to Pre-Suit Damages for Indirect
                               Infringement
7
                Lastly, Microsoft moves to preclude pre-suit damages (that is, damages before February 22,
8
     2013, the date this suit was filed) for Sentius’s indirect infringement claim, alleging that Sentius
9
     cannot prove that Microsoft had “actual knowledge of the asserted patents” prior to that date.7
10
     Dkt. 129 at 21. In seeking to exclude “significant . . . damages in this case” hinging on this very
11
     issue, Microsoft inexplicably cites to a single interrogatory response by Sentius as evidence of
12
     Microsoft’s purported lack of pre-suit knowledge of the patents.8 Dkt. 129 at 21; see Dkt. 133-2 at
13
     7.     That interrogatory response does nothing to foreclose Sentius’s ability to prove pre-suit
14
     knowledge of the patents by Microsoft at trial.
15
                Quite the opposite, as detailed at Section II.D.1, supra, and incorporating the same
16
     arguments in this section, circumstantial evidence giving rise to an inference of pre-suit knowledge
17
     sufficiently preserves a claim for pre-suit damages for trial. SynQor, 709 F.3d at 1380 (pre-suit
18
     knowledge may be inferred if it is shown that the defendant had actual knowledge of an earlier,
19
     predecessor patent to the patents-in-suit); TV Interactive, 2005 WL 1910929, at *2 (denying
20
     summary judgment to preclude pre-suit damages for indirect infringement because defendant had
21
     7
22   Microsoft limits its argument regarding indirect infringement to the issue of pre-suit knowledge
   of the patents. Microsoft does not dispute Sentius’s ability to prove indirect infringement post-suit
23 or any of the other requirements per 35 U.S.C. § 271(b) and (c) for inducement and/or contributory
   infringement, e.g., Microsoft’s role in actively inducing direct infringement by others or the
24 existence of substantial non-infringing uses of the accused functionalities.

25   8
     “Interrogatory No. 20: Identify the date on which you contend that You first gave Microsoft
26 actual notice of infringement of the Asserted Claims, and set forth all facts upon which you base
   your contention and all evidence that supports that contention. Response: [Objections omitted.]
27 Sentius gave Microsoft actual notice of infringement of the Asserted Claims no later than the date

28 of filing this lawsuit.” Dkt. 133-2 at 5-6.
                                                                  23
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                                                                         CASE NO. 5:13-CV-00825-PSG
          3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 29 of 31




1    pre-suit knowledge of a related patent). Sentius possesses precisely such evidence. A jury may

2    plausibly infer from Microsoft’s knowledge of and citations to the ‘720 patent that it had actual

3    notice of the two patents-in-suit that reissued from the ‘720 patent. Id.

4            As discussed in Section II.D.3, supra, and incorporating the same arguments here, Sentius

5    has also shown that it has extensive witness testimony and documentary evidence pertaining to the

6    parties’ 1998 and 2003 interactions that bear upon the disputed fact of Microsoft’s actual pre-suit

7    notice of the patents-in-suit. Thus, Microsoft’s conclusory proclamation that it “did not have actual

8    knowledge of the patents-in-suit prior to the filing of this lawsuit” is demonstrably false.

9            The Court should not on summary judgment preclude pre-suit damages for Sentius’s

10 indirect infringement claim.

11           V.    CONCLUSION

12           For the foregoing reasons, Microsoft’s Motion for Summary Judgment of No Infringement

13 (Direct, Indirect, or Willful) should be denied in its entirety and the case should proceed to trial.

14 Dated: December 30, 2014

15
                                                            SUSMAN GODFREY L.L.P.
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                               SUMMARY JUDGMENT OF NO INFRINGEMENT
                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 30 of 31




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                                                                      CASE NO. 5:13-CV-00825-PSG
       3480335v1/012741
     Case 5:13-cv-00825-PSG Document 151-3 Filed 12/30/14 Page 31 of 31




1                                           CERTIFICATE OF SERVICE

2              The undersigned hereby certifies that a true and correct copy of the above and foregoing

3    document has been served on December 30, 2014 to all counsel of record who are deemed to have

4    consented to electronic service via the Court’s CM/ECF system per Civ. L.R. 5-1(h)(1).

5
                                                       By: s/ Seth Ard
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